Case 6:23-cr-00205-RRS-CBW Document 116 Filed 11/16/23 Page 1 of 2 PageID #: 245




                                UNITED STATES DISTRICT COURT

                               WESTERN DISTRICT OF LOUISIANA

                                       LAFAYETTE DIVISION

  UNITED STATES OF AMERICA                       :       CRIMINAL NO. 23-CR-205-RRS-CBW
                                                 :
         Versus                                  :       JUDGE SUMMERHAYES
                                                 :
                                                 :       MAGISTRATE JUDGE WHITEHURST
  DAMARIO LYONS (1)                              :


                          DEFENDANT DAMARIO LYONS’ REQUEST
                                   FOR DISCOVERY


         Defendant, DAMARIO LYONS, through undersigned appointed counsel, hereby requests

  that the United States disclose all matters listed in Paragraph (I)(a)(1) of the Criminal Pretrial

  Discovery Order, including subparagraphs (A) through (I). Under subparagraph (H), the

  defendant specifically requests any and all books, papers, documents, photographs, tangible

  objects, buildings or places which the government intends to use as evidence at trial to prove its

  case in chief or which were obtained from or belong to the defendant.


                                                         RESPECTFULLY SUBMITTED:

                                                          s/ Michael A. Fiser
                                                         MICHAEL A. FISER
                                                         The Fiser Law Firm, LLC
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                                               Page 1 of 2
Case 6:23-cr-00205-RRS-CBW Document 116 Filed 11/16/23 Page 2 of 2 PageID #: 246




                                   CERTIFICATE OF SERVICE

         I hereby certify that, on November 16, 2023, a copy of the foregoing was filed

  electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will be

  sent to all counsel of record by notice of electronic filing (NEF).

                                  s/ Michael A. Fiser




                                               Page 2 of 2
